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                    TAB 90
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


 RALPH BIRCH,

                     Plaintiff,                   No. 3:20-CV-1790 (VAB)
                                                  [rel. No. 3:20-CV-1792]
 -against-
                                                  December 19, 2022
 TOWN OF NEW MILFORD et al.,

                     Defendants.


                           NOTICE OF MANUAL FILING

      Please take notice that Plaintiffs Ralph Birch and Shawn Henning have manually

filed the electronic files constituting Tab 53 (Audio of 3/4/86 Tina Yablonski Pre-

Polygraph Interview) and Tab 90 (Habeas Ex. 122 Videotaped interview of Timothy

Saathoff) to the Index of Record Exhibits Cited in Plaintiffs’ Oppositions to Defendants’

Motions for Summary Judgment [ECF Nos. 137 et seq.].

      These electronic files have not been filed electronically because they are audio

and video recordings respectively (not pdfs) that cannot be filed through the ECF

system.

      Both recordings are included on a single flash drive filed with the Clerk of

Court. These files have been manually served on all parties.

                                                Respectfully submitted,

                                                /s/ Seth R. Klein
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